 Case 1:05-cr-00013-GJQ           ECF No. 93, PageID.168           Filed 05/02/05      Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:05-cr-00013
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
DANIEL MACIAS,                      )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 2, 2005, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Daniel Macias entered a plea of guilty to Counts 1 and 3 of the Superseding

Indictment in exchange for the undertakings made by the government in the written plea agreement.

Count 1 of the Superseding Indictment charges defendant with Conspiracy to Possess with Intent to

Distribute and/or Distribute Cocaine, in violation of 21 U.S.C. § 846, and Count 3 charges defendant

with Possession with Intent to Distribute Cocaine and Marijuana in violation of 21 U.S.C. § 841(a).

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.
 Case 1:05-cr-00013-GJQ            ECF No. 93, PageID.169          Filed 05/02/05      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Counts 1 and 3 of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: May 2, 2005                                      /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                              - 2 -
